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 EXHIBIT “E”
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                                            CAUSE NO. D-1-GN-19-004305

 EVA ROBERTS                                                         §        IN THE DISTRICT COURT
                                                                     §
 V.                                                                  §        201ST JUDICIAL DISTRICT
                                                                     §
 RUCKER RESTAURANT HOLDINGS,                                         §
 LLC and RRH-AUSTIN, LLC                                             §        TRAVIS COUNTY, TEXAS

                        NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT

          Pursuant to 28 U.S.C. §§ 1332 and 1446, you are hereby notified that on August 30,

2019, Defendants RUCKER RESTAURANT HOLDINGS LLC and RRH-AUSTIN, LLC filed

their Defendants’ Notice of Removal to remove this state-court proceeding to the United States

District Court for the Western District of Texas, Austin Division. A copy of such notice and

other papers are attached hereto as Exhibit “A” and should be filed by you with the papers in this

cause. Upon the filing of the Notice of Removal, removal has been effected pursuant to 28

U.S.C. §1446(d).

                                                    Respectfully submitted,

                                                    LAW OFFICE OF R.E. (FELIX) COX
                                                    1100 NORTHWEST LOOP 410, SUITE 370
                                                    SAN ANTONIO, TX 78213-2200
                                                    (210) 949-0166 MAIN
                                                    (855) 949-1338 FACSIMILE




                                                    ___________________________________
                                                    SHAN MARIE EGLISKIS
                                                    State Bar No. 24059712
                                                    Egliss1@nationwide.com

                                                    ATTORNEY FOR DEFENDANTS
                                                    RUCKER RESTAURANT HOLDINGS LLC
                                                    And RRH-AUSTIN, INC.



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                                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been forwarded to the
following in accordance with the Texas Rules on the 30th day of August, 2019.

          Robert L. Ranco
          DC Law, PLLC
          1012 W. Anderson Ln
          Austin, TX 78757
          512-220-1800
          512-220-1801 Fax
          robert@texasjustice.com
          Attorney for Plaintiff, Eva Roberts




                                                           ___________________________________
                                                             SHAN MARIE EGLISKIS




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